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8                             UNITED STATES DISTRICT COURT
9                         SOUTHERN DISTRICT OF CALIFORNIA
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11     JASON THOMAS                              Case No.: 20cv718-LAB (BLM)
12                                  Plaintiff,
                                                 ORDER PERMITTING
13     v.                                        SUPPLEMENTAL BRIEFING
14     COSTCO WHOLESALE
       CORPORATION, et al.
15
                                Defendants.
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18          Defendant Costco Wholesale Corporation filed a motion to dismiss or
19   alternatively to strike. (Docket no. 4.) The motion is supported, in part, by a request
20   for judicial notice of listings for Apple AirPods on the Apple website. In support of
21   his opposition, Plaintiff Jason Thomas asks the Court to take judicial notice of
22   listings for Apple AirPods on both Costco’s and Walmart’s websites, as well as
23   customer reviews taken from Costco’s website. Some of these may be appropriate
24   for judicial notice, but not all are. Rather than addressing some of the arguments
25   now and reserving others for a future summary judgment motion, the Court
26   believes the interests of efficiency and judicial economy would be best served by
27   treating Defendant’s motion to dismiss as a motion for summary judgment. See
28   Fed. R. Civ. P. 12(d).

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1          The parties may submit supplemental briefs presenting evidence on the
2    issues raised in the briefing. Evidence to be considered should be properly
3    authenticated. While the Court may take notice at this or any other stage of
4    litigation, and may consider materials the complaint relies on, treating the exhibits
5    as evidence is preferable. Each brief should not exceed five pages, not counting
6    any lodged or appended material, and should be filed by July 27, 2020.
7    Responses, not longer than five pages, should be filed by August 10, 2020.
8    Evidentiary objections, or objections to requests for judicial notice should be
9    included in the responses. The briefing should specifically cite and explain the
10   significance of evidence it relies on; the parties should not expect that the Court
11   will look through attached materials and create arguments for them.
12         After supplemental briefs are filed, the Court may schedule a hearing if
13   appropriate. But otherwise, the matter will be deemed submitted on the papers.
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15         IT IS SO ORDERED.
16   Dated: July 8, 2020
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18                                           Honorable Larry Alan Burns
                                             Chief United States District Judge
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